91 F.3d 128
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeffery Ray ADDY, Petitioner--Appellant,v.C.J. CEPAK, Warden;  Attorney General of the State of SouthCarolina, Respondents--Appellees.
    No. 96-6396.
    United States Court of Appeals,Fourth Circuit.
    Submitted June 20, 1996.Decided July 29, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.  William B. Traxler, Jr., District Judge.  (CA-95-2044-6-21AK)
      Jeffery Ray Addy, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, G. Robert Deloach, III, OFFICE OF THE ATTORNEY GENERAL OF SOUTH CAROLINA, Columbia, South Carolina, for Appellees.
      D.S.C.
      APPEAL DISMISSED.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order dismissing his 28 U.S.C. § 2254 (1988) petition.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that failure to file timely, specific objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant lodged only general objections to the magistrate judge's recommendation.
    
    
      2
      The timely filing of specific objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to lodge specific objections will waive appellate review.   Howard v. Secretary of Health &amp; Human Servs., 932 F.2d 505, 507-09 (6th Cir.1991);   Lockert v. Faulkner, 843 F.2d 1015, 1019 (7th Cir.1988).   See generally Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985);   Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file specific objections after receiving proper notice.  Accordingly, we deny a certificate of appealability and dismiss the appeal.  Because there are no complex or substantial issues presented in this appeal, we deny Appellant's motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    